Case 4:24-cv-00953-P           Document 64        Filed 01/28/25       Page 1 of 3       PageID 421



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                   Fort Worth Division

 OUTSOURCING FACILITIES
 ASSOCIATION, et al.,

                 Plaintiffs,

         v.
                                                      Civil Action No. 4:24-cv-00953-P
 UNITED STATES FOOD AND DRUG
 ADMINISTRATION, et al.,

                 Defendants.


          Plaintiffs’ Motion for a Preliminary Injunction and Stay Pending Review
       Pursuant to Federal Rule of Civil Procedure 65(a) and 5 U.S.C. § 705, Plaintiffs

Outsourcing Facilities Association (“OFA”) and North American Custom Laboratories, LLC,

doing business as FarmaKeio Custom Compounding (“FarmaKeio”), hereby move the Court to

enter (1) a preliminary injunction prohibiting the Food and Drug Administration (“FDA”) from

taking action against OFA members and FarmaKeio based on their compounding of the drug

ingredient tirzepatide pending final judgment in this case and (2) a stay pending conclusion of the

review proceedings in this case of the effective date of the FDA’s action removing tirzepatide

injection products from drug shortage list maintained pursuant to 21 U.S.C. § 356e.

       For either a preliminary injunction or stay, Plaintiffs “must establish (1) a likelihood of

success on the merits; (2) a substantial threat of irreparable injury; (3) that the threatened injury if

the injunction is denied outweighs any harm that will result if the injunction is granted; and (4) that

the grant of an injunction will not disserve the public interest.” Ladd v. Livingston, 777 F.3d 286,

288 (5th Cir. 2015) (quoting Trottie v. Livingston, 766 F.3d 450, 452 (5th Cir. 2014)); see also

Airlines for America v. Dep’t of Trans., 110 F.4th 672, 674 (5th Cir. 2024) (applying 5 U.S.C.

§ 705). As explained in the attached memorandum of law, Plaintiffs have established these

elements, and preliminary relief is proper to prevent irreparable harm and preserve the status quo
Case 4:24-cv-00953-P          Document 64        Filed 01/28/25         Page 2 of 3    PageID 422



until final judgment can be rendered in this case. This Motion is accompanied by a memorandum

of law in support and an appendix.

        The Court should decline to impose a security requirement under Federal Rule of Civil

Procedure 65(c). The amount of security required “is a matter for the discretion of the trial court,”

and the Fifth Circuit has held district courts have discretion to “require no security at all.” Kaepa,

Inc. v. Achilles Corp., 76 F.3d 624, 628 (5th Cir. 1996) (citing Corrigan Dispatch Company v. Casa

Guzman, 569 F.2d 300, 303 (5th Cir. 1978)). FDA will not suffer financial harm from an injunction

that would make a security requirement proper, so no security requirement is appropriate in this

case.


 Dated: January 28, 2025                              /s/ Ty Doyle
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                                                  2
Case 4:24-cv-00953-P           Document 64       Filed 01/28/25      Page 3 of 3     PageID 423



                                       Certificate of Service

          I hereby certify that this document, filed through the CM/ECF system on this day, will be

sent via electronic mail to the registered participants as identified on the Notice of Electronic

Filing.


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